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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                               *
UNITED STATES OF AMERICA                       *
                                               *
                                               *
v.                                             *   Case No.: RWT 04cr235
                                               *
                                               *
LAVON DOBIE                                    *
                                               *


                                               ORDER

       On January 8, 2013, Defendant filed a Motion to Amend Judgment [ECF No. 1596]. On

January 22, 2013, Defendant filed a Motion to Remand [ECF No. 1600].               Despite the

considerable amount of time that has passed, the government has yet to file a response to either

of Defendant’s motions. Accordingly, it is this 16th day of August, 2013, by the United States

District Court for the District of Maryland,

       ORDERED, that the government is DIRECTED TO FILE a response to Defendant’s

Motion to Amend Judgment [ECF No. 1596] and Motion to Remand [ECF No. 1600] on or

before September 6, 2013.



                                                                      /s/
                                                           PETER J. MESSITTE FOR
                                                              ROGER W. TITUS
                                                       UNITED STATES DISTRICT JUDGE
